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DEC 01 2017

Clerk, U.S. District and

Rev. 3/2010 Bankruptcy Courts

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)
VS. ) Criminal Case No.: 17 cr 232 (RC)
)
Michael T. Flynn
)
WAIVER OF INDICTMENT

 

L, Michael T. Flynn , the above-named defendant, who is accused of

 

False Statements (in violation of 18 USC §1001)

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby
waive in open court on December 1, 2017 prosecution by indictment and consent that

the proceeding may be by information rather than by indictment.

fie Cn AS
Defendant CC -

  

Counsel for Defendant

Before: fil Lt Date: December 1, 2017

Ruddfph Contreras

United States District Judge

 
